Case 5:92-cV-O4131-RDR-RN Document 19 Filed 12/11/92=.__¢§’_,61@€,1 .Of_Z _: __,`_,_l,`_(ET

 

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IN THE UNITED STATES DISTRICT COURT BP§ §,§
FOR THE DISTRICT OF KANSAS g ;¥;: QY__QEPUTY

JO ANN C. MCDOWELL,
Plaintiff

vs. Civil Action\No. 92-4131-R
INDEPENDENCE COMMUNITY COLLEGE;
NORMAN CASTAGNA, CHARLES EMPSON,
P.E. BARBERA, JOE LONG, FRED

GRESS and RICK SMITH, in their
individual and official capacities

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Defendants.

 

, ORDER
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ON THIS day of December, 1992, comes for hearing the

 

Stipulated Motion for Dismissal with Prejudice. The Court being
fully advised of the premises finds that the case should be
dismissed with prejudice.

WHEREFORE, IT IS ORDERED, ADJUDGED AND DECREED that the above-

captioned matter shall be dismissed with prejudice.

Q£QAD@W

Judge of`the Distt&ct Court

Date:

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cw-9268 .1

Case 5:92-cV-O4131-RDR-RN Document 19 Filed12/11/92

U J

On this Qt§ day of December,
1992, the above and foregoing was
mailed to the following:

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